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                                                        FILED '10 JUL 20 11:Q9 USllC-lft


     DENNIS LOCK PRO SE
 1   450 HIGHWAY 99 N                                   The Honorable Ann Aiken presiding
     EUGENE OR 97402
 3   541-514-1741

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 7                                                  D/5!-1KT
                                UNITES STATES 'JIll!!   eIlletf'l' COURT
 9
                                        DISTRICT OF OREGON
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13                                                            Case No.6-10CV-6079-AA
              DENNIS LOCK PRO SE,                                      EX PARTE
15                                                       PETITION FOR WRIT OF PROTECTION
                   Plaintiff,                                         CONSPIRACY
17                                                            k""';</t"P /(~() I-IE"/I/{J/,vC::-
                      vs.
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           STATE OF CALIFORNIA ET AL,
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                   Defendant
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     Plaintiff prays to the court because of the blatant disregard California and
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27   six unknown agents have shown for every aspect of the legal process that a

29   democracy is dependant, such processes are the core of what the constitution

     was designed to protect as stated in complaint plaintiff can only anticipate
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     a growing effort to conceal their nefarious activities through activities
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     that only a miscreant mind familiar with the law could produce but possibly
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     include planting evidence or falsifying drug tests and claiming these are
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     self fulfilling prophesies.
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     THEREFORE:
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     1. Plaintiff p=ays to the court that the court prohibit the arrest of
43   plaintiff by Federal or State law enforcement without a hearing including
     plaintiff in this court and restrain any activity that would be deemed
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     unusual activities meant to inflict extreme emotional distress.
47   2. To prohibit any interference with plaintiffs constitutionally protected
     political and religious rights including 'jumping the line' interference of
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     internet web expression and interference with email traffic and/or
 1   interference with web hosters or PayPal online payment facility

 3   3. The court restrains any manipulation of psychiatrists or medical doctor's
     reports plaintiff is involved with in Portland to disprove the contrived
 5
     determination from California and interference with Church activities

 7   plaintiff engages.
     The courts compelling interest is to secure justice in the light of obvious
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     documented violations contained in pleading (Falsified DOJ documents,

11   perjured statements by Santa Cruz Detective and Deputy District Attorney,
     abuse of process, malicious prosecution)and to preserve the mental and
13
     physical health of the plaintiff if incarcerated. The last two times

15   plaintiff was incarcerated were on grounds forced and manipulated by law
     enforcement and while incarcerated plaintiff could not get medical attention
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     or proper representation so unconstitutional laws and proceedings would not
19   be discovered and extort a plea. These points are being put before this court
     in pleadings now in process of filing.
21
     Although the court may be inclined not to intervene in criminal actions
23   plaintiff states that the U. S. Constitution is civil law and is superior to
     criminal law because the criminal rights and rules proceed out of the civil
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     and are dependent·on the civil constitution therefore the civil takes
27   precedent.

29                                            Dated this 13th day of July   2010

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                                                             DENNIS LOCK PRO SE
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                                   WRIT PROTECTON - 2
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       unconstitutional activities of law enforcement addressed on




                                     By:
                                           ------------------~
                                             Signed by the Honorable
                                            Judge of the District Cour




                   WRIT PROTECTON - 3
